           Case 3:18-cr-00200-JCH Document 1 Filed 09/12/18 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                                     Grand Jury N-18-2                         ZD 18 SEP I 2 P I: 5b
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UNITED STATES OF AMERICA                     No. 3:18CR 2oDGIH)               US  ~~-  ''f
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      v.                                     VIOLATIONS:

LEONID POLLAK                                18 U.S.C. § 1343 (Wire Fraud)
 a.k.a. "Lenny Pollak"
                                             18 U.S.C. § 1957 (Illegal Monetary
                                             Transactions)

                                             18 U.S.C. § 981 (Forfeiture)


                                       INDICTMENT

      The Grand Jury charges:


                              COUNTS ONE THROUGH SIX
                                    (Wire Fraud)

      1.       At all relevant times, the defendant, LEONID POLLAK ("POLLAK"), who

was also known as "Lenny Pollak," was a resident of Greenwich, Connecticut.

      2.       POLLAK owned and operated Universal Expo Group LLC ("Universal

Expo"), a limited liability company which was registered with the Connecticut Secretary

of State on or about March 8, 2012. Universal Expo purported to be in the business of

organizing trade shows and exhibitions throughout the United States.

      3.      "Victim 1," who was an acquaintance of POLLAK's, was a resident of New

York, New York.

      4.       Bank of America ("BofA") was a financial institution that was insured by the

Federal Deposit Insurance Corporation ("FDIC"). Universal Expo maintained a BofA bank

account in Connecticut with an account number ending in 9016 (the "9016 Account").
              Case 3:18-cr-00200-JCH Document 1 Filed 09/12/18 Page 2 of 5




                               The Scheme and Artifice to Defraud

         5.       From in or about July 2013 through in or about November 2013, in the

District of Connecticut and elsewhere, POLLAK devised and intended to devise a scheme

and artifice to defraud Victim 1, and to obtain money from Victim 1, by means of materially

false and fraudulent pretenses, representations, and promises.

                                       Manner and Means

         6.       It was part of the scheme and artifice to defraud that POLLAK took the

following steps in the District of Connecticut and elsewhere.

         7.       In or about July 2013, POLLAK approached Victim 1 about a purported

business opportunity. Specifically, POLLAK proposed that he and Victim 1 jointly form a

company, Ukrainian Expo Group LLC ("Ukrainian Expo"), for the purpose of organizing

trade shows and exhibitions in Ukraine.

         8.       POLLAK solicited from Victim 1 an initial capital contribution of $225,000,

which POLLAK falsely represented would be used to facilitate Ukrainian Expo's business.

POLLAK subsequently solicited an additional $65,000 from Victim 1 under the same false

pretenses.

         9.       Victim 1 accepted POLLAK's proposal, and on or about August 1, 2013,

entered into an agreement with POLLAK to form Ukrainian Expo, with Victim 1 and

POLLAK each having a fifty percent membership interest in the company. On or about

August 6, 2013, Victim 1 registered Ukrainian Expo with the Connecticut Secretary of

State.

         10.      In total, between on or about July 30, 2013, and on or about November 14,

2013, Victim 1 contributed a total of $290,000 (in ten installments) to Ukrainian Expo.



                                                2
         Case 3:18-cr-00200-JCH Document 1 Filed 09/12/18 Page 3 of 5




Victim 1 made these payments VIa interstate wire transfers to the 9016 Account m

Connecticut.

       11.      In order to induce Victim 1 to continue to make payments to Ukrainian Expo,

and subsequently to prevent Victim 1's discovery of the scheme and artifice to defraud,

POLLAK falsely represented to Victim 1 that he had used Victim 1's money for the purpose

of organizing trade shows and exhibitions in Ukraine.

       12.      Contrary to POLLAK's representations, however, POLLAK did not use

Victim 1's funds to facilitate Ukrainian Expo's business. Instead, POLLAK and, at times,

others acting at his direction used substantially all ofVictim 1's funds for other unrelated

business and personal expenses, including POLLAK's home mortgage loan, groceries and

clothing, automobiles, and private school tuition.

                       Executions of the Scheme and Artifice to Defraud

       13.      On or about the dates listed below, in the District of Connecticut and

elsewhere, for the purpose of executing the above-described scheme and artifice to defraud,

POLLAK knowingly caused to be transmitted in interstate commerce by means of wire

communications certain signs, signals, and sounds, each constituting a separate count of

this Indictment, as follows:

 Count           Date                       Descri:gtion of Interstate Wire
             {on or about}
   1          9/17/2013      Wire Ill the amount of $10,000 from Victim 1 outside
                             Connecticut to the 9016 Account in Connecticut.
   2          9/25/2013      Wire In the amount of $45,000 from Victim 1 outside
                             Connecticut to the 9016 Account in Connecticut.
   3          10/2/2013      Wire in the amount of $10,000 from Victim 1 outside
                             Connecticut to the 9016 Account in Connecticut.,
   4         10/10/2013      Wire Ill the amount of $25,000 from Victim 1 outside
                             Connecticut to the 9016 Account in Connecticut.

                                              3
          Case 3:18-cr-00200-JCH Document 1 Filed 09/12/18 Page 4 of 5




 Count            Date                       Descri:gtion of Interstate Wire
              (on or about)
    5          10/28/2013     Wire Ill the amount of $45,000 from Victim 1 outside
                              Connecticut to the 9016 Account in Connecticut.
    6          11/14/2013     Wire Ill the amount of $20,000 from Victim 1 outside
                              Connecticut to the 9016 Account in Connecticut.

        All in violation of Title 18, United States Code, Section 1343.

                              COUNTS SEVEN THROUGH EIGHT
                                (Illegal Monetary Transactions)

        14.      The allegations in Paragraphs 1 through 13 are realleged and incorporated

as if fully stated herein.

        15.      On or about the dates listed below, in the District of Connecticut and

elsewhere, POLLAK knowingly engaged in, and caused others to engage in, monetary

transactions in criminally derived property of a value greater than $10,000, involving

financial institutions that are engaged in, and the activities of which affect, interstate

commerce, such property having been derived from specified unlawful activity, that is wire

fraud in violation of Title 18, United States Code, Section 1343, as follows:

 Count            Date                Descri:gtion of Illegal Monetary Transaction
              (on or about)
   7           9/26/2013      Check in the amount of $19,459.32 from the 9016 Account to
                              POLLAK's home mortgage lender.
   8           10/29/2013     Check in the amount of $19,459.32 from the 9016 Account to
                              POLLAK's home mortgage lender.

        All in violation of Title 18, United States Code, Sections 1957 and 2.

                                 FORFEITURE ALLEGATION

        16.      Upon conviction of one or more of the wire fraud offenses alleged in Counts

One through Six of this Indictment, POLLAK shall forfeit to the United States of America,


                                               4
         Case 3:18-cr-00200-JCH Document 1 Filed 09/12/18 Page 5 of 5




pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

Code, Section 2461(c), all right, title, and interest in any and all property, real or personal,

which constitutes or is derived from proceeds traceable to such offenses.

       17.    If any of the above-described forfeitable property, as a result of any act or

omission of POLLAK, cannot be located upon the exercise of due diligence, has been

transferred, sold to, or deposited with a third party, has been placed beyond the jurisdiction

of the court, has been substantially diminished in value, or has been commingled with

other property which cannot be divided without difficulty, it is the intent of the United

States, pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title

28, United States Code, Section 2461(c), to seek forfeiture of any other property of POLLAK

up to the value of the forfeitable property described above.

      All in accordance with Title 18, United States Code, Section 981(a)(1), as

incorporated by Title 28, United States Code, Section 2461(c), and Rule 32.2(a) of the

Federal Rules of Criminal Procedure.

                                                         A TRUE BILL




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